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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY EMPLOYEES
UNION, et al.,

                        Plaintiffs,

        v.                                        Case No. 1:25-cv-00381-ABJ

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                        Defendants.


                 DEFENDANTS’ MOTION FOR LEAVE TO FILE THE
               SUPPLEMENTAL DECLARATION OF ADAM MARTINEZ

       Defendants, by and through counsel, hereby seek leave pursuant to Local Rule 65.1(c) to

file the Supplemental Declaration of Adam Martinez, which is attached hereto. Local Rule 65.1(c)

provides that supplemental declarations either to a motion for a preliminary injunction or in

opposition thereto “may be filed only with permission of the Court.” L. Cv. R. 65.1(c); see also

Marsh v. Johnson, 263 F. Supp. 2d 49, 53 (D.D.C. 2003) (rule gives the Court “discretion to allow

parties to supplement the record.”).

       Supplementation of the record with Mr. Martinez’s Supplemental Declaration is

appropriate here. Plaintiffs filed 17 declarations and voluminous attachments late in the evening

on Thursday, February 27 and early in the morning on Friday, February 28. See ECF Nos. 38, 41.

Some of those declarations address Mr. Martinez’s initial declaration in this matter.

Supplementation is therefore appropriate, among other things, to allow Mr. Martinez to supply

additional context for his testimony, including by responding to some of the points raised in

plaintiffs’ supplemental declarations. Plaintiffs will not be prejudiced by the filing of Mr.
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Martinez’s Supplemental Declaration, which is only nine paragraphs long.

       Pursuant to Local Rule 7(m), counsel have conferred regarding this motion. Plaintiffs

consent to the filing of this motion so long as Defendants consent to the filing of responsive

declarations by plaintiffs, if necessary. Defendants so consent.

       A proposed order is attached.

Dated: March 2, 2025                         YAAKOV M. ROTH
                                             Acting Assistant Attorney General
                                             Civil Division

                                             /s/ Brad P. Rosenberg
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